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UNITED STATES DISTRICT COURT APR 2 4 2003
FOR THE WESTERN DISTRICT OF LOUISIANSR®E™ ¥-fyF
SHREVEPORT DIVISION ts

  

 

TANGO MOTOR TRANSIT, INC. NUMBER: CV03-0536-S
D/B/A TMT, INC. AND TANGO
TRANSPORT, INC.

 

VERSUS JUDGE WALTER

 

APPALACHIAN LEASING
SERVICES, INC., T & L MAGISTRATE JUDGE PAYNE

TRANSPORTATION SERVICES,
INC. AND ROGER HOOD,
INDIVIDUALLY AND D/B/A T & L
TRANSPORTATION SERVICES,
INC,

MOTION FOR CONTINUANCE OF HEARING
ON DEFENDANT’S MOTION TO DISMISS
FOR LACK OF PERSONAL JURISDICTION
NOW INTO COURT, through undersigned counsel, come TANGO
MOTOR TRANSIT, INC. and TANGO TRANSPORT, INC. (“plaintiffs”),
which respectfully move this Court as follows:
1.

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This action was originally filed in the Thirty Ninth Judicial District

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Court for the State of Louisiana, Parish of Red River. Defendant,
‘ Appalachian Leasing Services, Inc. (“ALS”) removed this action to this

Court.

 
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2.

On March 28, 2003, ALS filed a motion to dismiss for lack of personal
jurisdiction.

3.

On April 14, 2003, this Court granted plaintiffs’ motion to continue
the hearing on ALS’ motion to dismiss and granted plaintiff until June 16,
2003 to respond to ALS’ motion.

4,

On April 14, 2003, defendants T & L Transportation Services and
Roger Hood, filed a motion to dismiss for lack of personal jurisdiction. That
motion was set for hearing on June 23 and plaintiffs were given until April
30, 2003 to respond to T & L and Hood’s motion.

5.

Plaintiffs desire to conduct discovery related to the issue of personal
jurisdiction so that plaintiffs can adequately respond to T & L and Hood's
motion to dismiss. Plaintiffs request that they be given until June 16, 2003
to respond to T & L and Hood's motion.

6.

Defendants do not oppose this motion.

 
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WHEREFORE, plaintiffs pray that after due proceedings are had, this
Honorable Court grant a continuance of plaintiff's deadline to respond to T
& Land Hood's motion and for continuance of the hearing on said motion
for a reasonable time such that plaintiffs can conduct discovery on the issue

of personal jurisdiction.

 

General Counsel

Tango Transport, Inc.

P.O. Box 218

Hall Summit, LA 71034
Telephone: (800) 368-0599
Telefax: (318) 932-5796

ATTORNEY FOR PLAINTIFFS,
TANGO MOTOR TRANSIT, INC.
D/B/A TMT, INC. AND TANGO
TRANSPORT, INC.

 
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CERTIFICATE OF SERVICE
I hereby certify that a copy of the foregoing was served upon Rudy J.
Cerone, McGlinchey Stafford, PLLC, 643 Magazine St., New Orleans, LA
70130, counsel for defendant, Appalachian Leasing Services, Inc., and on
David E. Lafargue, Lafargue & Lafargue, 313 N. Main Street, P.O. Box 277,
Marksville, LA 71351, counsel for defendants, T & L Transportation Services,

Inc. and Roger Hood, by ordinary U.S. mail, this 23" day of April, 2003.

 

dd Benson

 
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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF LOUISIANA
SHREVEPORT DIVISION

 

TANGO MOTOR TRANSIT, INC. NUMBER: CV03-0536-S
D/B/A TMT, INC. AND TANGO
TRANSPORT, INC.

 

VERSUS JUDGE WALTER

 

APPALACHIAN LEASING
AGISTRA
SERVICES, INC., T &L MAGISTRATE JUDGE PAYNE

TRANSPORTATION SERVICES,

INC. AND ROGER HOOD,

INDIVIDUALLY AND D/B/A T & L

TRANSPORTATION SERVICES,

INC.

CERTIFICATE OF CONFERENCE
Thereby certify that on the 23“ day of April, 2003, J. Todd Benson had

a conference with Rudy Cerone, counsel for defendant Appalachian Leasing
Services, Inc. and David Lafarge, counsel for defendants T & L
Transportation Services, Inc. and Roger Hood, informing them of this filing
and inquiring as to whether or not they opposed the filing of the Motion for

Continuance of Hearing on Defendant’s Motion to Dismiss and they advised

that they do not object to the filing of same.

Hall Summit, Louisiana, this 23° eS

j. Tédd Benson
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TANGO MOTOR TRANSIT, INC. NUMBER: CV03-0536-S
D/B/A TMT, INC. AND TANGO
TRANSPORT, INC.

 

VERSUS JUDGE WALTER

 

APPALACHIAN LEASING
TRATE
SERVICES, INC., T & L MAGISTRATE JUDGE PAYNE

TRANSPORTATION SERVICES,
INC. AND ROGER HOOD,
INDIVIDUALLY AND D/B/A T & L
TRANSPORTATION SERVICES,
INC.
ORDER
CONSIDERING THE FOREGOING Motion for Continuance of
Hearing on Defendants’ Motion to Dismiss:
IT IS HEREBY ORDERED that Plaintiffs’ Motion is GRANTED and

the deadline for plaintiffs to respond to Defendants’ Motion to Dismiss is

reset for , 2003, with the motion to be

 

reset for the next motion day thereafter.

Shreveport, Louisiana, this th day of April, 2003.

 

MAGISTRATE JUDGE

 

 
